       Case 2:21-mc-01230-JFC Document 2783-1 Filed 05/10/24 Page 1 of 4

                  NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
 In re Philips Recalled CPAP, BI-LEVEL PAP, and Mechanical Ventilator Products Litigation,
                                  No. 21-mc-1230, MDL 3014
        UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF PENNSYLVANIA
             A court authorized this Notice. This is not a solicitation from a lawyer.


                       Para la notificación en Espanol, visite el sitio web
                      www.RespironicsMedicalAdvancementProgram.com


  If you used a Philips Respironics CPAP, BiPAP or Ventilator that was recalled, you will
receive Medical Advancement Program Benefits from a proposed class action settlement of
                 Medical Monitoring Claims if the settlement is approved.
● A proposed Settlement has been reached in a federal class action lawsuit that seeks to resolve
  Medical Monitoring Claims relating to certain CPAPs, BiPAPs, and ventilators that were
  recalled by Philips Respironics beginning in June 2021 (the “Recalled Devices”). These
  devices were sold in the U.S. between 2008 and 2021. The benefits of the Settlement are
  summarized in the Q&A section below.
● You are included in the proposed Settlement if you are a U.S. citizen or resident (including its
  Territories and the District of Columbia) who has used a Recalled Device.
● Your legal rights are affected by the proposed Settlement even if you do nothing. If the
  proposed Settlement is approved, you will be able to receive the Medical Advancement
  Program Benefits provided by the Settlement for 15 years, and you will release your
  Medical Monitoring Claims on the terms set forth in the Settlement. Medical Monitoring
  Claims do not include individual claims for monetary relief for medical monitoring
  arising from use of the Recalled Devices. So, if you used a Recalled Device in a State that
  allows you to seek individual money damages for medical monitoring (e.g., out-of-pocket
  costs you incurred for necessary and prescribed testing to monitor for illnesses you do
  not have), you are not releasing those individual claims under this Settlement.
● The Settlement does not affect or release any claims for personal injuries relating to the
  Recalled Devices.
● This Settlement is also separate from the settlement and release of Economic Loss Claims
  relating to the Recalled Devices. The Court recently granted final approval of the Economic
  Loss Settlement.
● Your rights and the deadline to exercise them are summarized in this notice. Please read
  this entire notice carefully. More details concerning the full Settlement Agreement, and other
  relevant documents, are available at www.RespironicsMedicalAdvancementProgram.com.
● Please note that this is a non-opt out Settlement, meaning you do not have the right to opt out
  or request exclusion from the Settlement Class. But you do have the right to object to the
  Settlement, if you wish.
● Capitalized terms in this Notice have the same meaning as defined in the Settlement
  Agreement.
     YOUR LEGAL RIGHTS AND OPTIONS IN THIS PROPOSED SETTLEMENT
 Object to      If you object to the proposed Settlement, you must mail       Your objection
 the            your objection to the Notice Administrator by the             must be
 Settlement     Objection Deadline. Failure to meet the deadline will         postmarked on or
                render your objection invalid and waived.                     before [INSERT
       Case 2:21-mc-01230-JFC Document 2783-1 Filed 05/10/24 Page 2 of 4

                   • Go to                                                  Objection
                     www.RespironicsMedicalAdvancementProgram.com           Deadline]
                     for more information on how to make a valid
                     objection to the Settlement.
 Go to a        If you wish to speak in Court regarding an objection that   Your request to
 Hearing        you have submitted, you must submit a timely written        appear at the
                request to the Notice Administrator.                        hearing must be
                                                                            postmarked on or
                                                                            before [INSERT
                                                                            Objection
                                                                            Deadline]
 Do Nothing     You do not have to do anything to benefit from the          None
                Settlement. If the Settlement becomes Final, you will not
                be able to sue the Philips Defendants or any of the
                Released Parties for the Medical Monitoring Claims, as
                defined in the Settlement Agreement.

Why am I receiving this Notice?

A Court authorized this Notice to U.S. citizens or residents who have used one or more of the
following CPAP, BiPAP, or ventilator devices recalled by Philips Respironics: System One 50
Series ASV4 (Auto SV4); System One 50 Series Base; System One 50 Series BiPAP; System One
60 Series ASV4 (Auto SV4); System One 60 Series Base; System One 60 Series BiPAP; C-series
S/T, AVAPS (C-series and C-series HT); DreamStation CPAP; DreamStation ASV; DreamStation
ST, AVAPS; DreamStation BiPAP; DreamStation Go; E30; OmniLab Advanced Plus; Trilogy
100/200, Garbin Plus, Aeris LifeVent; V30 auto.

What are the Settlement Benefits?

The Philips Defendants have agreed to pay $25 million into a Settlement Fund, and they shall not
be entitled to a return of the Settlement Payment if the Settlement is approved and becomes Final.
The Settlement Fund will be used to create Medical Advancement Program Benefits for Settlement
Class Members for a period of 15 years, which will consist of:

   •   Funding independent medical research which will contribute to the advancement of public
       knowledge and education with respect to the detection, diagnosis, and/or treatment of
       Qualifying Injuries;

   •   Establishing a research registry for Settlement Class Members to which they can elect to
       submit authorizations for the release and disclosure of medical information protected by
       HIPAA, 45 CFR § 164.508, for purposes of review and evaluation in connection with the
       research related to the Qualifying Injuries;

   •   Establishing and maintaining an interactive website for Settlement Class Members to
       access the current medical information and guidance regarding the long-term health effects,
       if any, of use of the Recalled Devices (“Relevant Medical Information and Guidance”);
       and

   •   Periodically posting on the Settlement Website and disseminating to Settlement Class
       Members who register to receive notifications of the Relevant Medical Information and
       Guidance, which will be provided in a user-friendly format for affected individuals who do
       not have a medical or scientific background.
       Case 2:21-mc-01230-JFC Document 2783-1 Filed 05/10/24 Page 3 of 4

No payments will be made to Settlement Class Members under the Settlement.

The Court in charge of this case still has to decide whether to approve the proposed Settlement.
The Medical Advancement Program Benefits for Settlement Class Members will be provided if
the Court approves the proposed Settlement, and after any appeals are resolved in favor of
upholding the Settlement. This process can take time. Please be patient. You do not need to do
anything or fill out any forms in order to be able to receive the Medical Advancement Program
Benefits.

What are the Qualifying Injuries?

One of the Medical Advancement Program Benefits that will be created by the Settlement Fund
will be the funding of medical research related to the detection, diagnosis, and/or treatment of
Qualifying Injuries. The Qualifying Injuries that may be the subject of this research include:

   •   Respiratory illnesses, such as asthma, chronic obstructive pulmonary disease (COPD),
       chronic bronchitis, bronchiectasis, sarcoidosis, acute respiratory distress syndrome,
       reactive airways dysfunction syndrome, pulmonary fibrosis, other interstitial lung disease,
       pneumonitis, and other restrictive or obstructive lung diseases;

   •   Certain mouth, nose, and throat cancers, such as, oral cavity cancers, oropharynx cancer,
       nasal cavity/sinus cancer, nasopharynx cancer, larynx cancer, hypopharynx cancer,
       salivary cancer, certain upper- and mid-esophageal cancers, certain limited thyroid cancers;

   •   Lung cancer; and

   •   Specific blood cancers, i.e., acute myeloid leukemia (AML), chronic myeloid leukemia
       (CML), mucosa associated lymphoid tissue (MALT) originating in the air-pathway
       lymphoid tissue.

What are My Options?

You do not have the right to opt out of, or otherwise request exclusion from, the Settlement.

However, you may Object to the Settlement or to the request for attorneys’ fees, reimbursement
of costs and expenses, and service awards by [INSERT Objection Deadline]. Failure to timely
and properly Object by the Objection Deadline will render your objection invalid and
waived. Please visit www.RespironicsMedicalAdvancementProgram.com for more information
on how to Object to the Settlement. If you submit an objection, and would like to speak in Court
regarding your objection, you may submit a written request to the Notice Administrator to appear
at the Final Approval Hearing. Your request to appear must be post-marked by [INSERT Objection
Deadline].

If you Do Nothing and the Settlement becomes Final, then you will automatically be permitted
to benefit from, and be legally bound by, the terms of the Settlement, and you will release your
Medical Monitoring Claims against the Philips Defendants and the other Released Parties.

What are the Medical Monitoring Claims being given up if the Settlement is approved?

The Medical Monitoring Claims consist of any claims or relief for medical monitoring that were
asserted or alleged, or could have been asserted or alleged, in the litigation, including the claims
alleged and the relief sought in the Medical Monitoring Complaint for (a) non-monetary relief,
including injunctive relief and/or specific performance, or (b) monetary relief, but only to the
       Case 2:21-mc-01230-JFC Document 2783-1 Filed 05/10/24 Page 4 of 4

extent such monetary relief claims are brought, or relief is sought, as a representative or member
of any class of claimants in a class action, or through any other form of aggregate, group, or mass
action.

Medical Monitoring Claims do not include individual claims for monetary relief for medical
monitoring arising from use of the Recalled Devices. Medical Monitoring Claims do not
include individual claims for monetary relief for medical monitoring arising from use of the
Recalled Devices. So, if you used a Recalled Device in a State that allows you to seek
individual money damages for medical monitoring (e.g., out-of-pocket costs you incurred for
necessary and prescribed testing to monitor for illnesses you do not have), you are not
releasing those individual claims under this Settlement.

However, Medical Monitoring Claims do include individual claims for non-monetary relief,
including injunctive relief and/or specific performance, and those claims will be released if the
Settlement becomes Final.

Details regarding the Release are in Section 4 of the Settlement Agreement, which can be viewed
at www.RespironicsMedicalAdvancementProgram.com.

Do I have a Lawyer for these Medical Monitoring Claims?

Yes. The Court appointed the following lawyers to represent you and the other Settlement Class
Members: Christopher A. Seeger of Seeger Weiss LLP; Sandra L. Duggan of Levin Sedran &
Berman LLP; Steven A. Schwartz of Chimicles Schwartz Kriner & Donaldson-Smith LLP; Kelly
K. Iverson of Lynch Carpenter, LLP; and Roberta D. Liebenberg of Fine, Kaplan and Black, R.P.C.

These firms are called Settlement Class Counsel. You will not be charged for their services. They
will be seeking attorneys’ fees, reimbursement of costs and expenses, and service awards totaling
up to 20% of the $25 million Settlement Fund, and their motion will be posted on the Settlement
website.

The Court’s Final Approval Hearing.

The Court will hold a Final Approval Hearing on ____________, 2024 at ____m., in Courtroom
5A of the Joseph F. Weis, Jr. U.S. Courthouse, 700 Grant Street, Pittsburgh, PA 15219.

At this hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate.
If there are objections, the Court will consider them. The Court will listen to Objectors who have
timely and properly asked to speak at the hearing. The Court will then decide whether to approve
the Settlement.

The Court will also decide how much should be awarded with respect to the motion for attorneys’
fees, reimbursement of costs and expenses, and service awards that will be filed by Settlement
Class Counsel.

The Court may reschedule the Final Approval Hearing or change any of the deadlines described
in this Notice. Be sure to check the website, www.RespironicsMedicalAdvancementProgram.com,
for news of any such changes.

      For more information, visit www.RespironicsMedicalAdvancementProgram.com.
